 Case: 4:20-cv-00684-MTS Doc. #: 34 Filed: 02/09/21 Page: 1 of 2 PageID #: 490




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

KATHRYN SCHOTT, on behalf of herself               )
and all others similarly situated,                 )
                                                   )
              Plaintiff,                           )       Case No. 4:20-cv-00684-MTS
                                                   )
v.                                                 )
                                                   )
OVERSTOCK.COM, INC.                                )
                                                   )
              Defendant.                           )


                                  NOTICE OF DISMISSAL

       COMES NOW Plaintiff and hereby submits notice of her voluntary dismissal without

prejudice in the above-referenced matter.

                                            Respectfully submitted,

                                            GOFFSTEIN LAW, LLC


                                            /s/ Adam M. Goffstein
                                            Adam M. Goffstein, #45611MO
                                            7777 Bonhomme, Suite 1910
                                            St. Louis, Missouri 63105
                                            Phone: (314) 725-5151
                                            Fax: (314) 455-7278
                                            adam@goffsteinlaw.com

                                            Attorney for Plaintiff
 Case: 4:20-cv-00684-MTS Doc. #: 34 Filed: 02/09/21 Page: 2 of 2 PageID #: 491




                                             ORLOWSKY LAW, LLC


                                             /s/ Daniel J. Orlowsky_____________
                                             Daniel J. Orlowsky, #57387MO
                                             7777 Bonhomme, Suite 1910
                                             St. Louis, Missouri 63105
                                             Phone: (314) 725-5151
                                             Fax: (314) 455-7375
                                             dan@orlowskylaw.com

                                             Attorney for Plaintiff


                                CERTIFICATE OF SERVICE
       I hereby certify that on this 9th day of February, 2021, the foregoing was filed

electronically with the Clerk of Court and served via the Court’s CM/ECF system to all

attorneys of record.



                                             /s/Adam M. Goffstein




                                                2
